AMERICAN AUTOMATIC PRESS CO., PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.American Automatic Press Co. v. CommissionerDocket No. 5542.United States Board of Tax Appeals9 B.T.A. 1351; 1928 BTA LEXIS 4227; January 17, 1928, Promulgated *4227  There can be no allowance for exhaustion of property acquired prior to March 1, 1913, where there is no evidence of the cost or of the value of such property on that date.  Edwin Howell, C.P.A., for the petitioner.  Thomas P. Dudley, Jr., Esq., for the respondent.  MARQUETTE *1351  This proceeding seeks a redetermination of a deficiency of $3,455.04 asserted by the respondent for the year 1920.  The deficiency arose by reason of the disallowance by the respondent of petitioner's claimed deductions for exhaustion of certain patent rights.  FINDINGS OF FACT.  The petitioner is a corporation organized in 1911 under the laws of California.  Some years earlier, the Hoag Automatic Press Co. had been organized under the laws of Maine, had acquired certain basic patents for printing presses, and had done some work in developing them.  The life of these patents expired in 1924.  By 1911 the Hoag Company was $40,000 in debt and had only $675 in its treasury.  Upon the organization of this petitioner with an authorized capital stock of 600,000 shares of the par value of $1 each, an agreement was made with the Hoag Company whereby the petitioner acquired*4228  all the good will and assets of the former, including its patents, and assumed the Hoag Company's $40,000 indebtedness.  It was also provided that the holders of Hoag shares of stock might deliver them to petitioner and receive in turn 1 share of petitioner's stock for 1 share of Hoag common, and 10 shares of petitioner's stock for 1 share of Hoag preferred; in every instance, however, the holders of Hoag shares were to pay to the petitioner 10 cents for each share of its stock so issued.  Under this arrangement petitioner issued 543,836 shares of its stock and received $54,383.60.  From 1912 to 1919, inclusive, varying assessments were levied upon the stockholders, the aggregate sum of all the assessments being $59,073.52.  In October, 1913, petitioner entered into a contract with R. Hoe &amp; Co. by the terms of which Hoe &amp; Co. became the exclusive manufacturer in North America of petitioner's automatic press.  Owing to internal dissensions Hoe &amp; Co. delayed the work of manufacture for a long time and in 1918 Hoe &amp; Co.'s plant was taken over by the Government for war purposes.  No further work was done *1352  under this contract and in 1920 Hoe &amp; Co. paid to the petitioner $25,000*4229  as damages for breach of contract.  While the contract was in force only two presses (models) were constructed by Hoe &amp; Co., but that firm did expend some $50,000 in preliminary work.  From 1907 on, seven or eight presses were sold.  How much was realized from these sales does not appear in the record.  At the Panama Exposition in 1915 the petitioner's press was awarded the gold medal for automatic presses.  By 1915 - how much earlier does not appear, other presses operating substantially the same as petitioner's press were being put upon the market by other manufacturers.  The petitioner never reached the point of commercial production of its press.  The patents obtained from the Hoag Company were at first carried on the books of the petitioner at a valuation of $489,452.40.  This figure was determined by subtracting from the par value of the capital stock issued by the petitioner, $543,836, the amount of cash actually received for such stock, namely, $54,383.60.  This valuation of the patents was subsequently reduced by a credit to capital stock account of $3,527.10, making the patent valuation $485,925.30.  In petitioner's tax return for 1920 a deduction of one-seventeenth*4230  of the corrected valuation, amounting to $28,583.84, was claimed on account of depreciation of the patents.  This deduction was disallowed by the respondent.  The petitioner was not active during the years 1919 and 1920.  It maintained a skeleton organization and tried to dispose of two presses which it had on hand.  In 1920 its income was $25,101.07, all but $100 of which was paid to it as damages for breach of contract.  OPINION.  MARQUETTE: The petitioner claims a deduction from its 1920 income on account of depreciation of its patents.  Section 234(a)(7) of the Revenue Act of 1918 provides for the deduction from income of "a reasonable allowance for the exhaustion, wear and tear of property used in the trade or business, including a reasonable allowance for obsolescence." However, before such deduction may be had the cost, or March 1, 1913, value of the property subject to exhaustion must be determined.  That this is so is apparent when we consider the reason underlying this deduction.  This reason has been stated in , as follows: The allowance of a deduction on account of the wear and tear and exhaustion of*4231  property, commonly known as depreciation, is based upon the principle of allowing a taxpayer a return of the capital invested in his business before subjecting his earnings therefrom to tax.  Recognition is given to the fact *1353  that physical assets are constantly being reduced in value on account of wear, tear, and exhaustion thereof in the business.  A taxpayer, however, is permitted to have returned to him only the capital which he has invested.  To the same effect is . Since the patents herein were acquired prior to 1913, the basis for depreciation thereof is the value on March 1 of that year.  The record, however, is barren of evidence from which either the cost or the March 1, 1913, value can be ascertained.  We know that in 1911 the petitioner issued its capital stock of the par value of $543,836, and received in exchange therefor the patents in question, $54,383.60 in cash, and liabilities amounting to over $40,000; and that petitioner gave to these patents a book value of $489,452.40.  At the time petitioner was a newly incorporated company.  It had, apparently, no other assets than those just mentioned. *4232  So far as we are informed its capital stock had no value.  There is not sufficient evidence before us to show that the patents under consideration had any value on March 1, 1913, and there is no justification for any allowance for the exhaustion thereof.  The determination of the respondent, therefore, is sustained.  Judgment will be entered for the respondent.